  Case 8:20-cv-00156-JVS-KES Document 1-2 Filed 01/24/20 Page 1 of 2 Page ID #:13


AO 440(Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                             for the
                                                  Central District of California


                     SUSHANT GUPTA



                           Plaintiffs)                                 A V 2~ - 001 6-~~S~K~~~
                               v.                                      Civil Action No.
                     POSTMATESINC



                          Defendants)


                                               SUMMONS IN A CIVIL ACTION

To:(Defendant's name and address] POSTMATES INC.
                                  201 THIRD STREET, FLOOR 2
                                  SAN FRANCISCO CA 94103




         A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: SUSHANT GUPTA
                                P.O. BOX 5242
                                 BUENA PARK CA 90622




       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date:
                                                                                    Signature ofClerk or Deputy Clerk
     Case 8:20-cv-00156-JVS-KES Document 1-2 Filed 01/24/20 Page 2 of 2 Page ID #:14


AO 440(Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                          PROOF OF SERVICE
                  (This section should not befiled with the court unless required by Fed. R. Ciu P. 4(1))

           This summons for (»ame ofindividual and Title, ifany)
 was received by me on (dare)


          ~ l personally served the summons on the individual at(place)
                                                                              011 (date)                           or

           Q I left the summons at the individual's residence or usual place of abode with (name)
                                                                 a person of suitable age and discretion who resides there,
           on (dare)                             ,and mailed a copy to the individual's last known address; or

           O [served the summons on (name ofIndividual)                                                                    who is

            designated by law to accept service of process on behalf of(name oforgantZarron)
                                                                               Oh (date)                           or

           ~ 1 returned the summons unexecuted because                                                                         or

           ~ Other (specify):




           My fees are $                          for travel and $                 for services, for a total of$        0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                           Server's signature



                                                                                       Printed name and tide




                                                                                           Server's address


 Additional information regarding attempted service, etc:
